                                1   WEIL, GOTSHAL & MANGES LLP
                                    Stephen Karotkin (pro hac vice)
                                2   (stephen.karotkin@weil.com)
                                    Jessica Liou (pro hac vice)
                                3   (jessica.liou@weil.com)
                                    Matthew Goren (pro hac vice)
                                4   (matthew.goren@weil.com)
                                    New York, NY 10153-0119
                                5   Tel: (212) 310-8000
                                    Fax: (212) 310-8007
                                6

                                7    KELLER & BENVENUTTI LLP
                                     Tobias S. Keller (#151445)
                                8    (tkeller@kellerbenvenutti.com)
                                     Jane Kim (#298192)
                                9    (jkim@kellerbenvenutti.com)
                                     650 California Street, Suite 1900
                               10    San Francisco, CA 94108
                                     Tel: (415) 496-6723
                               11    Fax: (415) 636-9251
                               12    Proposed Attorneys for Debtors
                                     and Debtors in Possession
Weil, Gotshal & Manges LLP




                               13
 New York, NY 10153-0119




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      767 Fifth Avenue




                                                              UNITED STATES BANKRUPTCY COURT
                               15
                                                              NORTHERN DISTRICT OF CALIFORNIA
                               16
                                                                      SAN FRANCISCO DIVISION
                               17

                               18
                                    In re:                                              Case No. 19-30088 (DM)
                               19                                                       Chapter 11
                                    PG&E CORPORATION,                                   (Lead Case)
                               20                                                       (Jointly Administered)
                                              - and -
                               21
                                    PACIFIC GAS AND ELECTRIC                            -and-
                               22   COMPANY,
                                                                                        Adv. Pro. No. 19-03003 (DM)
                               23                                Debtors.
                                                                                        NOTICE OF AGENDA FOR FEBRUARY
                               24    Affects PG&E Corporation                          13, 2019 OMNIBUS HEARING
                                     Affects Pacific Gas and Electric Company
                               25   Affects both Debtors                              Date: February 13, 2019
                                                                                        Time: 1:00 p.m. (Pacific Time) and
                               26   * All papers shall be filed in the lead case,              1:30 p.m. (Pacific Time)
                                    No. 19-30088 (DM)                                   Place: United States Bankruptcy Court
                               27                                                              Courtroom 17, 16th Floor
                                                                                               San Francisco, CA 94102
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                                    NOTICE OF AGENDA
                             Case: 19-30088     Doc#FOR
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                                    FEBRUARY 13 OMNIBUS HEARING
                                                                 PROPOSED AGENDA FOR
                                1
                                                            FEBRUARY 13, 2019 OMNIBUS HEARING
                                2
                                      I.   MAIN CASE - Matters to be heard in Main Case No. 19-30088 (DM)
                                3          at 1:00 P.M. (Pacific Time)
                                4          1.     Motion Confirming Interim Order Pursuant to 11 U.S.C. §§ 105(a), 363(b), and
                                    507 and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to (I) Pay Prepetition
                                5
                                    Wages, Salaries, and other Compensation and Benefits; (II) Maintain Employee Benefit
                                6   Programs; and (III) Pay Related Administrative Obligations [Dkt. No. 392].

                                7                 1(a).   Ex Parte Application Pursuant to B.L.R. 9006-1 Requesting Order
                                                          Shortening Time for Hearing on Motion Confirming Interim Order
                                8                         Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 507 and Fed. R. Bankr. P.
                                                          6003 and 6004 for Interim and Final Authority to (I) Pay Prepetition
                                9
                                                          Wages, Salaries, and other Compensation and Benefits; (II) Maintain
                               10                         Employee Benefit Programs; and (III) Pay Related Administrative
                                                          Obligations [Dkt. No. 393].
                               11
                                                  1(b).   Order Pursuant to B.L.R. 9006-1 Shortening Time for Hearing on Motion
                               12                         Confirming Interim Order Pursuant to 11 U.S.C. §§ 105(a), 363(b), and
                                                          507 and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority
Weil, Gotshal & Manges LLP




                               13
 New York, NY 10153-0119




                                                          to (I) Pay Prepetition Wages, Salaries, and other Compensation and
                                                          Benefits; (II) Maintain Employee Benefit Programs; and (III) Pay Related
      767 Fifth Avenue




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                                                          Administrative Obligations [Dkt. No. 394]
                               15
                                                  1(c).   Responses: Pursuant to the Court’s Order Shortening Time any response
                               16                         or opposition to the Motion may be presented orally at the Hearing.
                               17    II.   ADVERSARY PROCEEDING - Matters to be heard in PG&E v. FERC, Adv. Pro.
                                           No. 19-03003 (DM) at 1:30 p.m. (Pacific Time)
                               18

                               19          2.    NextEra Energy. NextEra Energy’s Motion to Intervene in Adversary
                                    Proceeding; Memorandum of Points and Authorities [AP Dkt. 8].
                               20
                                                  2(a).   Declaration of Michael Sheehan in Support of NextEra Energy’s (I)
                               21                         Motion to Intervene in Adversary Proceeding and (II) Motion to Withdraw
                                                          Reference of Adversary Proceeding [AP Dkt. 10].
                               22
                                           3.      Consolidated Edison Development. Consolidated Edison Development, Inc.’s
                               23
                                    Motion to Intervene in Adversary Proceeding; Memorandum of Points and Authorities [AP
                               24   Dkt. 15].

                               25                 3(a).   Declaration of James J. Dixon in Support of Consolidated Edison
                                                          Development, Inc.’s Motion to Intervene in Adversary Proceeding [AP
                               26                         Dkt. 16, amended on AP Dkt. 18].
                               27          ///
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                                           4.    Mojave Solar. Mojave Solar LLC’s Notice of Motion and Motion to Intervene in
                                1
                                    Adversary Proceeding; and Memorandum of Points and Authorities in Support Thereof [AP
                                2   Dkt. 25].

                                3                 4(a).   Declaration of Emiliano Garcia in Support of Mojave Solar’s Motion to
                                                          Intervene in Adversary Proceeding [AP Dkt. 26].
                                4
                                           5.    First Solar. First Solar Inc.’s Notice of Motion and Motion to Intervene in
                                5   Adversary Proceeding; and Memorandum of Points and Authorities in Support Thereof [AP
                                    Dkt. 28].
                                6

                                7                 5(a).   Declaration of Terence A. Burke in Support of First Solar’s Motion to
                                                          Intervene in Adversary Proceeding [AP Dkt. 30]
                                8
                                          6.       Vantage Wind Energy & KES Kingsburg. Joint Motion of Vantage Wind
                                9   Energy and KES Kingsburg L.P., to Intervene in Adversary Proceeding; Memorandum of Points
                                    and Authorities [AP Dkt. 29].
                               10
                                           7.     Calpine, et al.. Motion to Intervene in Adversary Proceeding [AP Dkt. 32].
                               11

                               12                 7(a).   Request for Judicial Notice in Support of Motion to Intervene in
                                                          Adversary Proceeding [AP Dkt. 33].
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                               13
 New York, NY 10153-0119




                                                  7(b).   Supplement of Exelon Corporation and AV Solar Ranch 1, LLC to
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                               14                         Omnibus Motion to Intervene in Adversary Proceeding [AP Dkt. 37].

                               15          8.      Enel Green Power North America. Enel Green Power North America, Inc.’s
                                    Motion to Intervene in Adversary Proceeding; Memorandum of Points and Authorities [AP
                               16   Dkt. 38].
                               17
                                                  8(a).   Declaration of Jose Manuel Astudillo in Support of Enel Green Power
                               18                         North America, Inc.’s Motion to Intervene in Adversary Proceeding [AP
                                                          Dkt. 39].
                               19
                                         9.    FTP Power. FTC Power LLC’s Motion to Intervene in Adversary Proceeding;
                               20   Memorandum of Points and Authorities [AP Dkt. 40].
                               21                 9(a).   Declaration of Sean McBride in Support of FTC Power LLC’s Motion to
                                                          Intervene in Adversary Proceeding [AP Dkt. 41].
                               22

                               23          10.    Capital Dynamics. Capital Dynamic’s Motion to Intervene in Adversary
                                    Proceeding and Memorandum of Points and Authorities [AP Dkt. 42].
                               24
                                                  10(a). Declaration of Benoit Allehaut in Support of Capital Dynamics’ Motion to
                               25                        Intervene in Adversary Proceeding [AP Dkt. 48].
                               26         11.      PG&E Opposition. Memorandum of Point and Authorities in Opposition of
                                    Motions to Intervene [AP Dkt. 72].
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                                            PLEASE TAKE NOTICE that copies of any papers filed with the court and referenced
                                1
                                    herein can be viewed and/or obtained: (i) by accessing the Court’s website at
                                2   http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450
                                    Golden Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims
                                3   agent, Prime Clerk LLC, at https://restructuring.primeclerk.com/pge or by calling (844) 339-
                                    4217 (toll free) for U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-
                                4   mail at:pgeinfo@primeclerk.com. Note that a PACER password is needed to access documents
                                    on the Bankruptcy Court’s website.
                                5

                                6
                                    Dated: February 12, 2019                WEIL, GOTSHAL & MANGES LLP
                                7

                                8                                           KELLER & BENVENUTTI LLP

                                9                                           By: /s/ Jane Kim
                               10                                                       Jane Kim

                               11                                           Proposed Attorneys for Debtors and Debtors in
                                                                            Possession
                               12
Weil, Gotshal & Manges LLP




                               13
 New York, NY 10153-0119
      767 Fifth Avenue




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